946 F.2d 1565
    292 U.S.App.D.C. 85
    NOTICE: D.C. Circuit Local Rule 11(c) states that unpublished orders, judgments, and explanatory memoranda may not be cited as precedents, but counsel may refer to unpublished dispositions when the binding or preclusive effect of the disposition, rather than its quality as precedent, is relevant.Henry LAVADO, Jr., Appellant,v.DEPARTMENT OF TRANSPORTATION.
    No. 90-5260.
    United States Court of Appeals, District of Columbia Circuit.
    May 16, 1991.
    
      Before SILBERMAN, BUCKLEY and STEPHEN F. WILLIAMS, Circuit Judges.
      ORDER
      PER CURIAM.
    
    
      1
      Upon consideration of the motion for summary affirmance and the opposition thereto, it is
    
    
      2
      ORDERED that the motion be granted.   The merits of the parties' positions are so clear as to justify summary action.   See Taxpayers Watchdog, Inc. v. Stanley, 819 F.2d 294, 297 (D.C.Cir.1987) (per curiam);   Walker v. Washington, 627 F.2d 541, 545 (D.C.Cir.)  (per curiam), cert. denied, 449 U.S. 994 (1980).   The appellant does not challenge the specificity of the affidavit submitted to the district court, nor does he state why the exemptions cited by the Coast Guard were "improperly applied."   See Perry v. Block, 684 F.2d 121, 126 (D.C.Cir.1982).   The withheld information falls within 5 U.S.C. § 552(b)(7)(C) and (D) (1982).
    
    
      3
      The Clerk is directed to withhold issuance of the mandate herein until seven days after disposition of any timely petition for rehearing.   See D.C.Cir.Rule 15.
    
    